EXHIBIT Q
Annual List Maintenance Report

September 1, 2023 – August 31, 2024
                                                                                           P a g e |2



Executive Summary
The Department of Elections (ELECT) is pleased to provide the 2024 Annual List Maintenance
Report to the members of the House and Senate Privileges and Elections Committees of the
Virginia General Assembly. This report details the list maintenance activities undertaken to
maintain the Virginia Voter and Election Registration Information System (VERIS) between
September 1, 2023 and August 31, 2024 in accordance with the Code of Virginia §§ 24.2-404 (F)
and 24.2-404.4 (C).

Overview
Virginia’s list of registered voters is updated daily to reflect changes in the voting population.
New registrations increase the number of voters, while individuals moving within or outside the
Commonwealth alter the voter rolls through address changes or removals. The list is also
updated to reflect changes in voter eligibility, such as when a registrant is convicted of a felony,
identified as a non-citizen, has their rights restored, or when a qualified voter turns eighteen or
passes away. These ongoing adjustments ensure that the list of registered voters remains current
and accurate for each election.
The Code of Virginia requires ELECT to use a variety of sources and processes to maintain this
list, thereby bolstering the accuracy and fairness of Virginia elections. In addition to these
statutory requirements, ELECT utilizes business processes and safeguards to minimize duplicate
registrations, remove out-of-state registrants, and identify voters who may have died, all while
adhering to state and federal requirements for voter eligibility, notice, and due process.
                                                                                                     P a g e |3


As of August 31, 2024, a total of 6,280,912 individuals are registered to vote in Virginia. For this
reporting period, 306,109 individuals registered to vote, and 277,892 voter registrations were
cancelled after following the various processes for voter registration list maintenance.

                              Registrations vs. Cancellations, September 1, 2019 - August 31, 2024




Background
The National Voter Registration Act of 1993 (NVRA) sets forth certain requirements with
respect to the administration of voter registration and requires states to implement procedures to
maintain accurate and current voter registration lists. These procedures are commonly referred to
as ‘list maintenance’. The foundation for list maintenance processes administered in the
Commonwealth of Virginia is established in Title 24.2 Chapter 4 of the Code of Virginia. The
NVRA does not permit a list maintenance program to remove registrants from the list of
registered voters simply due to their failure to vote. This prohibition is intended to prevent
selective or discriminatory voter removal practices. Ultimately, the NVRA divides the required
list maintenance programs into two major areas: cancellations and confirmations.
Under the Code of Virginia, ELECT is required to provide the following information to general
registrars for voter registration list maintenance:
Change of Address – Va. Code §§ 24.2-404(A)(4) and 24.2-404.4
     •     A list of all persons no longer qualified to vote in the county or city where they are
           registered due to removal of their residence;1 and,

1
    See the Code of Virginia § 24.2-404(A)(4)
                                                                                          P a g e |4


    •   Duplicate registrations identified from comparing other states’ registration and voting
        information.2
Felony Convictions – Va. Code §§ 24.2-409 and 24.2-409.1
    •   A monthly list of all persons convicted of a felony during the preceding month and a
        comprehensive annual list of all persons ever convicted of a felony from Virginia’s
        Central Criminal Records Exchange (CCRE);3
    •   Persons convicted of a felony from information sent by a United States attorney pursuant
        to the NVRA;4
Restoration of Rights – Va. Code § 53.1-231.2
    •   A list of persons convicted of a felony who have had their voting rights restored.5
Deaths – Va. Code §§ 24.2-408 and 24.2-404.3
    •   A weekly list of all persons 17 years of age or older who have died in the Commonwealth
        from the Virginia Department of Health (VDH);6 and
    •   A list of deceased persons maintained by the Social Security Administration (SSA)
        reviewed on or before October 1 of each year.7
Adjudications – Va. Code § 24.2-410
    •   A monthly list of all persons adjudicated incapacitated by a court.8
Non-Citizens – Va. Code § § 24.2-404(A)(4) and 24.2-410.1
    •   A list of all persons declared not to be United States citizens by reports from the
        Department of Motor Vehicles (DMV) or from ELECT based on information received
        from the Systematic Alien Verification for Entitlements Program (SAVE Program).9

List Maintenance Operations
The Five-Step Process
Virginia law requires local general registrars in each of the Commonwealth’s 133 localities to
make determinations related to individuals’ eligibility to register and remain on the list of
registered voters.10 The Department of Elections supports the general registrars in routine list
maintenance tasks through a standard five-step process.



2
  See the Code of Virginia § 24.2-404.4
3
  See the Code of Virginia § 24.2-409
4
  See the Code of Virginia § 24.2-409.1
5
  See the Code of Virginia § 53.1-231.2
6
  See the Code of Virginia § 24.2-408
7
  See the Code of Virginia § 24.2-404.3
8
  See the Code of Virginia § 24.2-410
9
  See the Code of Virginia § 24.2-427
10
   See the Code of Virginia §§ 24.2-114 and 24.2-427
                                                                                                   P a g e |5


First, the ELECT receives a list from a statutorily mandated data source containing information
for classes of persons who are either prohibited from voting in the Commonwealth or require
confirmation of information on their registration. Lists containing information for prohibited
voters, such as lists containing decedents, may be used to cancel voter registrations. Lists
containing information such as address changes may be used to confirm voter registrations. The
process described here relates to information used to cancel voter registrations. The workflow for
confirming voter registrations due to address changes is described in detail in the section titled
‘Confirmation Mailing’ further in this report.
Second, ELECT compares the list it receives against the list of registered voters to identify
potential matches between the two lists. The process of comparing records between lists and
identifying similar records is referred to as record matching. The Department uses a standardized
methodology to match records received against the list of registered voters.
Third, ELECT notifies the appropriate general registrars of any potential matches between the
list received and the list of voters in their localities.
Fourth, general registrars review the potential matches the Department makes available to them.
Ultimately, the general registrars are responsible for either approving or rejecting a potential
match. If a general registrar approves a potential match, the matching voter’s registration will be
cancelled. If a general registrar rejects a potential match, it will remove the potential match from
consideration and leave the list of registered voters unchanged.
Fifth, the voter is notified that their voter registration is cancelled. ELECT provides general
registrars with standardized cancellation notices through VERIS that are used to notify voters of
their cancellation for any reason. The notice is sent to the cancelled voter’s address on their
registration record and by email if one was provided.11 In the event a voter is cancelled due to
being deceased, VERIS will generate a cancellation letter expressing condolences to “The
Family of” the deceased former voter.
Staff
Keeping Virginia’s registered voter list as up to date as possible requires a small team of
individuals who are dedicated to list maintenance activities. The development of a full-time list
maintenance team came in response to recommendations presented by the Joint Legislative Audit
and Review Commission (JLARC) in its September 2018 ‘Operations and Performance of
Virginia’s Department of Elections’ report.12 Concerted efforts to build and improve ELECT’s
list maintenance team have been ongoing since 2019. With the 2019 budget process, two full-
time equivalents (FTE) were added to ELECT’s team in fiscal year (FY) ’20. Further during the




11
  See the Code of Virginia § 24.2-427(B)
12
  Joint Legislative and Audit Review Commission, Operations and Performance of Virginia’s Department of
Lections, September 10, 2018
                                                                                                    P a g e |6


2024 General Assembly Session, funds were allocated for one additional FTE position in FY ’25.
ELECT pays for its list maintenance activities through its operating general funds.
Nationwide Partners
ELECT contracts with Melissa Data to conduct its National Change of Address (NCOA)
mailings and with the National Technical Information Service (NTIS) to compare the voter list
with the Social Security Administration’s Limited Access Death Master File (LADMF).
Additionally, ELECT subscribes to the National Association for Public Health Statistics and
Information Systems (NAPHSIS) to confirm the death of a registered voter out of state. These
tools are necessary in ensuring that ELECT and general registrars can meet statutory
requirements related to list maintenance activities and are explained in greater detail throughout
this report.
Executive Orders
The accuracy of ELECT’s list maintenance processes is contingent upon the quality and
efficiency of the data provided to ELECT. The shared responsibility of data used for list
maintenance is highlighted by Executive Order 3113 and Executive Order 3514 which were signed
by Governor Youngkin in June and August of 2024, respectively. Since Executive Order 31,
ELECT has signed new Memorandums of Understanding (MOUs) (also referred to as ‘data
sharing agreements’) with the Virginia State Police (VSP), the VDH, and the DMV. These
interagency data sharing agreements have led to a review of data sharing standards that impact
the information provided to ELECT and have enhanced interagency collaboration. Additionally,
since Executive Order 35, the frequency in which ELECT receives non-citizen data from the
DMV has increased from monthly to daily.

Virginia’s List Maintenance Processes and Procedures
Comparison of Voter Registration Data with Other States
ELECT utilizes a variety of resources to compare voter registration data with other states. The
Department receives information regarding individuals that may have moved out of Virginia
through voter self-reports, data sharing agreements, National Change of Address (NCOA)
reports, and license surrender reports from the DMV. ELECT also provides information for
voters registered in Virginia to other states for the purposes of maintaining their lists of
registered voters.
Voter Self-Reports
Voter self-reports support list maintenance efforts not only for the Commonwealth of Virginia,
but for other states as well. When an individual completes a Virginia voter registration



13
   https://www.governor.virginia.gov/media/governorvirginiagov/governor-of-virginia/pdf/eo/EO-31-Establishment-
of-Multi-Agency-Data-Sharing-Protocols-Regarding-Voter-List-Maintenance.pdf
14
   https://www.governor.virginia.gov/media/governorvirginiagov/governor-of-virginia/pdf/eo/EO-35-
Comprehensive-Election-Security-Ensuring-Legal-Voters-and-Accurate-Counting---vF---8.7.24.pdf
                                                                                                   P a g e |7


application, they are asked to provide the state they are currently registered in, if any.15 If the
application is approved by the general registrar, ELECT then notifies the appropriate authority of
the state the applicant was previously registered in that the voter is now registered in Virginia.
Between September 1, 2023 and August 31, 2024, ELECT sent notifications for 87,246
registrants to 52 U.S. states and territories for their own list maintenance processes.
When a voter registered in Virginia moves to another state and registers to vote there, the voter
often notifies the new state that they were previously registered in Virginia. The new state should
then notify Virginia that the voter desires to cancel their Virginia voter registration. The voter
also has the option of directly notifying Virginia through form ‘ELECT-427A Request to Cancel
Voter Registration’, which can be found on ELECT’s website.16
Data Sharing Agreements
Va. Code § 24.2-404.4 requires ELECT to conduct voter list comparisons with Virginia’s
neighboring states to maintain the accuracy of the list of registered voters. Virginia’s bordering
states and jurisdictions are Kentucky, Maryland, North Carolina, Tennessee, West Virginia, and
the District of Columbia.
In the fall of 2023, ELECT began a new initiative to establish one-to-one data sharing
agreements with several states. As of August 2024, Virginia maintains one-to-one data sharing
agreements with Kentucky, Tennessee, Washington D.C., and West Virginia (each of which is a
border state), as well as Georgia, Ohio, and South Carolina. These agreements enabled ELECT
to match its list of registered voters directly with lists belonging to partner states. Each data
sharing agreement enables ELECT to compare two types of lists between the states: the List of
Registered Voters and the List of Those Who Voted.


                                   Lists Exchanged with Other States

 List Type                             Contents                              Purpose of Comparison
 List of Registered Voters             Every registered voter in the         Registrants who exist on both
                                       state or jurisdiction at the          lists with more recent activity
                                       time of the exchange                  in the partner state are
                                                                             marked for confirmation
 List of Those Who Voted               Every registered voter in the         Voters who exist on both lists
                                       state or jurisdiction who             are reviewed for potentially
                                       voted in a designated Federal         suspicious voting activity
                                       General Election


15
  See the Code of Virginia § 24.2-418(A)
16
  Virginia Department of Elections, Registration, Voter Forms, Voter Registration Cancellation,
https://www.elections.virginia.gov/registration/voter-forms/cancel-registration.html/
                                                                                           P a g e |8




Throughout 2023 and 2024, ELECT contacted Maryland and North Carolina in an effort to
establish similar data sharing agreements with those border states (See Appendix A). Maryland
responded to these requests by citing ongoing litigation as a barrier to signing any such
agreement. North Carolina declined to sign any such agreement with the Commonwealth, instead
referring ELECT staff to a list of registered voters that was publicly available. As noted most
recently in the 2022 Annual List Maintenance Report17, the publicly available list of North
Carolina voters does not contain voters’ full year of birth or Social Security Number and
therefore does not provide sufficient data for a comparison against Virginia’s list of registered
voters.
Development of Secure Repeatable Processes
Between September 1, 2023 and August 31, 2024, ELECT refined and executed a secure and
reproducible process to exchange both lists mentioned in the data sharing agreements with
partner states. This process includes documenting roles and responsibilities, agreeing to standard
data exchange formats and delivery processes, agreeing to shared data masking processes to
ensure sensitive PII such as full dates of birth and Social Security Numbers are not readable but
can still be used for matching, performing a test exchange with synthetic data to ensure any
masked PII can be used for matching, performing an exchange with real (“production”) data, and
destroying the lists used in the exchange.
Results
Between September 1, 2023 and August 31, 2024, ELECT compared the Virginia list of
registered voters against the lists of registered voters in partner states. Together, these
comparisons will lead approximately 29,887 registered Virginia voters to be marked for
confirmation. That total reflects only registrants who matched a partner state’s list of registered
voters and had more recent voter activity in the partner state than in Virginia. Registrants who
matched between both lists and had more recent activity in Virginia were classified as Virginia
registrants and will not be marked for confirmation as a result of their appearance on a partner
state’s list.
Comparisons between Lists of Registered Voters
These results underscore the importance of data sharing arrangements between states for a
variety of reasons. First, these exchanges enabled ELECT to cross-validate address change
information from the NCOA registry against other states’ lists of registered voters. ELECT data
analysts compared data for registrants who, according to the NCOA registry, moved from
Virginia to a partner state against the partner state’s list of registered voters and identified 877
matches. This affirms that the NCOA data can properly identify Virginia voters who moved out-
of-state. Second, these exchanges illustrated that NCOA data is necessary but not sufficient for
identifying Virginia registrants who moved out-of-state. The majority of voter registration


17
     Virginia Department of Elections, 2022 Annual List Maintenance Report, October 2023
                                                                                          P a g e |9


records that matched between Virginia and its partner states were sourced to partner states’ lists
of registered voters, as opposed to matches from the NCOA registry.
Duplicate Registrations
One reason ELECT is required to exchange its list of registered voters with other states is for the
purpose of identifying and eliminating duplicate registrations.18 While exchanging data with
other states identifies cross-state duplicates, additional checks are necessary to minimize the
number of in-state duplicates. For this reason, ELECT uses an automated process to perform
daily scans of the entire list of registered voters for duplicate registrations.
In December 2023, ELECT developed an internal process to search the list of registered voters
for potential duplicate registrations. This process runs each day and sends potential duplicate
registrations to local general registrars for their manual review. Between December 2023 and
August 31, 2024, this process identified 1,816 duplicates that were sent to general registrars for
their review.
Confirmation Mailings
Federal Requirements
Voters who may have moved are identified and contacted through the federally mandated NCOA
confirmation process mandated by both § 24.2-428 of the Code of Virginia and 52 USC § 20507
of the NVRA.

The NCOA confirmation process prescribed by § 20507(c) of the NVRA requires a state
established program to utilize change-of-address information supplied by the United States
Postal Service (USPS) or through its licensees to identify registrants whose addresses may have
changed. The Commonwealth of Virginia further requires voters to be included in the NCOA
confirmation process if a.) any election mail sent to a registered voter is returned as
undeliverable or; b.) if a voter provides an address on a candidate or referendum petition that
differs from the address for the voter in VERIS, pursuant to § 24.2-428.1.

Unlike other list maintenance processes conducted throughout the year pursuant to
§ 20507(c)(2)(B)(i), this program must be completed “not later than 90 days prior to the date of a
primary or general election for Federal office.”19

Overview of Process
The NCOA database catalogs change of address requests submitted by individuals to the USPS.
ELECT accesses this database through its contract with Melissa Data, a global leader in data
quality and address verification. Using data from the NCOA database, ELECT identifies voters
registered in Virginia who may have moved and may need to update or cancel their voter
registration. Voters registered in Virginia who are identified as potential movers by the NCOA
list are then sent a confirmation notice by forwardable mail to their last known Virginia address.


18
     See the Code of Virginia § 24.2-404.4
19
     See the National Voter Registration Act 52 U.S.C. § 20507(c)(2)(A)
                                                                                           P a g e | 10


These letters include a postage prepaid envelope and a confirmation form that voters can utilize
to either: (i) confirm that their address did or did not change, or (ii) to request that the general
registrar cancel their registration, if appropriate.
Active vs. Inactive Voter Status
Voters who respond to the mailing within 30 days and confirm that their place of residence has
not changed, or that their new address is in Virginia remain on the voter registration list as
‘Active’ Virginia-registered voters. Voters who do not respond to the notice within 30 days or
whose confirmation mailing is returned as undeliverable are then classified as ‘Inactive’ on the
voter registration list.
Voters who have been designated as ‘Inactive’ by the process outlined above may return to
‘Active’ status through a voter-initiated action such as change of address, re-registration, or
voting in an election.20 Additionally, ‘Inactive’ voters may still cast a ballot on Election Day.
The voter must have their eligible voting status verified by the general registrar, sign a statement
declaring that they are a qualified and registered voter of the precinct at which they are present,
and be added to the pollbook by officers of election. However, following each federal general
election, ELECT will cancel individuals who have been designated as ‘Inactive’ and have not
voted for a period of two federal general elections as established in § 20507(d)(1)(B)(ii) of the
NVRA.
Department of Motor Vehicles (DMV)
In addition to NCOA data, ELECT sends cancellation request mailers to those on the Virginia
voter registration list who have been identified as having moved out-of-state. Each month
ELECT receives an updated electronic file from the DMV of persons who have surrendered their
Virginia driver’s license indicating relocation to another state. Once ELECT receives the file,
VERIS automatically conducts a search for any potential matches of registered voters contained
on the list. The potential matches are provided to the appropriate general registrar for review, and
the general registrar may initiate a request for a confirmation notice to be sent to the voter.
Mailers sent through this process reach registrants soon after they move out-of-state, allowing
voters to cancel their registration immediately without having to wait for the routine
confirmation mailing process. While this approach is not required, ELECT adheres to this best
practice to ensure Virginia’s list of registered voters is as timely and accurate as possible.
ELECT has cultivated an exceptional working relationship with the DMV and is enhancing
existing data exchanges within this partnership through its participation in Executive Order 31.
Results
Confirmation Mailings
For the June 2024 NCOA Mailing, 151,711 mailers were sent out, including approximately
109,537 confirmation notices to registered voters who had potentially moved within or outside of



20
     See the Code of Virginia § 24.2-428.2
                                                                                        P a g e | 11


their jurisdiction in Virginia. Approximately 42,174 cancellation request mailers were sent to
voters’ out-of-state addresses.
As a result of the confirmation mailing process, approximately 124,111 voters were classified as
‘Inactive’ in June 2024. Since that time, 138 voters marked ‘Inactive’ in June 2024 performed a
voter-initiated action and have since become ‘Active’ voters. Additionally, among voters marked
‘Inactive’ after the June 2024 mailing, 7,456 individuals subsequently cancelled their voter
registrations. A random sample of these records revealed that most of these voters returned the
optional mailer ELECT sent to registrant’s out-of-state addresses and requested that their
registrations be cancelled.
NVRA Cancellations and 2021 Comparison
In January 2023, ELECT conducted the NVRA cancellation process that occurs after every
federal general election. A total of 60,988 voter registrations were cancelled due to that process,
as those voters remained ‘Inactive’ for two general federal elections. That number of
cancellations was low by comparison to previous NVRA cancellations since the 2020
confirmation mailing was not sent until after the 2020 November General election. Voter
registrations set to ‘Inactive’ following the 2020 November General election will not meet the
threshold of missing two general federal elections until after November 2024. Due to the delay in
the 2020 confirmation mailing, Virginians can expect a relatively higher number of NVRA
cancellations in the year 2025.
Felon Records
Felon records are received by ELECT from two sources:
  •    Code of Virginia § 24.2-409 requires the Virginia State Police (VSP) Central Criminal
       Record Exchange (CCRE) to provide ELECT with monthly lists of felony convictions.
       This section of the Code of Virginia also requires VSP to provide ELECT with an annual
       list of all felony convictions.
  •    NVRA requires that the U.S. Attorney’s Offices provide ELECT with felony conviction
       information on the federal level. Code of Virginia § 24.2-409.1 requires ELECT to share
       this information with the local general registrars.

Each month, ELECT loads data from the CCRE downloaded from VSP into VERIS. The federal
felony conviction information is received on paper at ELECT, and staff enters the conviction
information into VERIS manually. The records are matched against existing registered voters
and any potential matches are provided to the appropriate local general registrar for further
review and processing.
                                                                                        P a g e | 12


                                 Felony Conviction Data Lineage




October 2023 Voter Reinstatement
In October of 2023, ELECT processed nearly 3,400 records of voters for reinstatement who were
cancelled after violating their probation but were misclassified as having new felonies. This
occurred as a result of reports provided by the Virginia State Police (VSP) to ELECT which
listed probation violations on previous felony convictions as new felonies, even if those
violations were not felonies.
ELECT received a monthly list of individuals convicted of felonies from the VSP which
incorrectly included individuals on probation that violated that probation. Using its standard
process, ELECT sent these records to local general registrars who removed the voters from the
voter list and sent cancellation letters by mail in accordance with state law. A report of a
discrepancy with an individual’s reported felony conviction prompted ELECT to discover this
error. Probation violations have been removed from the list of felony convictions sent to ELECT
in monthly files since October of 2023. Additionally, given this process had gone unchanged for
decades, ELECT requested VSP conduct a historical review of individuals cancelled to identify
affected voters which resulted in nearly 3,400 records being sent to registrars for reinstatement.
Although all impacted voters were eligible to vote in the November 2023 election, ELECT
worked with VSP to establish a Watch Team to ensure any person listed as having a felony
conviction could be individually verified. No individuals listed as having a felony conviction
were turned away from the polls and general registrars were able to contact the VSP Watch
Team directly for confirmation regarding individual records. The Watch Team assembled in
October and remained available to registrars until November 10th, 2023, the Friday after the
election. After the Watch Team disbanded, ELECT and VSP remained in close contact.
Following the Governor’s enactment of Executive Order 31, VSP was the first of ELECT’s data
partners to provide a signed data sharing agreement and the first to deliver detailed technical
                                                                                          P a g e | 13


documentation describing its data processing rules. The resulting MOU was the first developed
between VSP and ELECT in both agencies’ histories.
Results
From September 1, 2023 to August 31, 2024, 7,931 voter registrations were cancelled after a
felony conviction was reported to ELECT.
Restoration of Rights
Pursuant to § 53.1-231.2, ELECT receives a list of convicted felons monthly who have
successfully presented petitions through the Secretary of the Commonwealth to the Governor to
have their right to vote restored. This list is matched to Virginia’s list of prohibited voters, and
any matches are removed from the prohibited list in order to permit re-registration of the voter.
Results
Between September 1, 2023 and August 31, 2024, ELECT processed 1,227 records of
individuals who had their rights restored by the Governor.
Mentally Incapacitated Adjudications
Pursuant to § 24.2-410 of the Code of Virginia, the Clerks of the Circuit Courts send ELECT a
paper-based monthly report indicating any individuals who were adjudicated mentally
incapacitated. This information is sent to the appropriate local general registrar for further review
and processing.
Results
From September 1, 2023 to August 31, 2024, 599 voter registrations were cancelled after a
mentally incapacitated adjudication was reported to ELECT.
Non-Citizen Records
Code of Virginia § 24.2-410.1 requires the DMV to request all customers identify their
citizenship status when completing a transaction. On a monthly basis, the DMV shares the list of
individuals who responded ‘No’ to the citizenship question to ELECT. ELECT matches this
information to the list of existing registered voters, and any potential matches are provided to the
appropriate local general registrar for further review and processing. This process results in the
removal of any registered voter if the voter does not subsequently affirm their U.S. citizenship to
the general registrar within 14 days of the registrar notifying the voter of the potential
cancellation.
Pursuant to § 46.2-328.1 of the Code of Virginia, the Department of Motor Vehicles is required
to provide the Department of Elections with a document number, if any, issued by an agency or
court of the United States government indicating legal presence. This document number
provides enough information for ELECT to run SAVE verification on non-citizens as authorized
by § 24.2-404 of the Code of Virginia.
From September 1, 2023 to August 31, 2024, 2,099 voter registrations were cancelled after
identifying as “non-citizens” within a DMV process.
                                                                                                  P a g e | 14


Death Records
Pursuant to Va. Code §§ 24.2-404.3 and 24.2-408, ELECT is required to ensure that voters who
have died are removed from the voter registration list in a timely manner:
     •   Code of Virginia § 24.2-404.3 requires ELECT to conduct a match of the voter
         registration list against the list of deceased persons maintained by the Social Security
         Administration (SSA) on or before October 1 of each year. The SSA distributes its
         Limited Access Death Master File (LADMF) through the U.S. Department of
         Commerce’s National Technical Information Service (NTIS).
     • Code of Virginia § 24.2-408 requires the Bureau of Vital Statistics (BVS) at the Virginia
       Department of Health to provide ELECT a weekly list of those who have died in the
       previous month. Currently, the BVS uploads a weekly file to ELECT containing these
       records.
The records are matched against existing registered voters and any potential matches are
provided to local general registrar for further review and processing.
Pursuant to § 24.2-427(B) of the Code of Virginia, general registrars are required to promptly
cancel the registrations of persons known to be deceased or otherwise disqualified to vote. The
death data ELECT receives from NTIS and BVS provide general registrars with this knowledge
through routine processes, but registrars also receive reliable death reports from additional
sources. The ELECT ‘427-B Report of the Death of a Registered Voter Form’21 introduced by
ELECT in February 2023, allows specific family members and officials to provide credible and
actionable death reports directly to local registrars. General registrars can also utilize the
National Association for Public Health Statistics and Information Systems (NAPHSIS) lookup
tool, introduced by ELECT in March 2023, to request that ELECT perform a search of national
death records sourced to the Electronic Verification of Vital Events (EVVE). Between
September 1, 2023 and August 31, 2024, 420 NAPHSIS lookups were performed, allowing
registrars to search for potential out-of-state deaths of Virginia residents
Between September 1, 2023 and August 31, 2024, ELECT significantly revised its processing of
deaths sourced from the SSA. The previous method of processing deaths received from the SSA
involved an annual comparison of the entire LADMF against Virginia’s list of registered voters
accompanied by monthly comparisons of newly-reported deaths against Virginia’s list of
registered voters. This process satisfied all statutory requirements and ensured that new deaths
resulted in the timely cancellations of matching voter registrations. The revised process now
combines the previous months deaths with the LADMF to compare the entire updated LADMF
against Virginia’s list of registered voters each month. This process enhances Virginia’s list



21
  Virginia Department of Elections, Forms warehouse, VERIS-Voter Registration, Cancellation,
https://www.elections.virginia.gov/media/formswarehouse/veris-voter-registration/cancellation/ELECT-427B-
Report-the-Death-of-a-Registered-Voter_Final.pdf
                                                                                        P a g e | 15


maintenance accuracy by ensuring deceased individuals are more efficiently identified and
removed from voter registration lists.
Under Code of Virginia § 24.2-404(A) (9), ELECT may use additional sources of valid and
reliable state agency data for the purposes of maintaining the voter registration system. This
provision enabled ELECT to receive and process an ad hoc list of Virginia residents who died
outside of Virginia in December 2023. This list, provided by BVS, contained 3,552 death records
sourced to the Electronic Verification of Vital Events (EVVE). Of those records, ELECT sent
1,502 potential matches to local general registrars for review. By comparison, an average weekly
file received from BVS yields approximately 1,003 potential matches to registered voters.
ELECT intends to receive and process out-of-state deaths at least once annually as part of its data
sharing agreement with VDH.
Results
From September 1, 2023, to August 31, 2024, 62,356 deceased voters were removed from
Virginia’s voter list.

Conclusion
Secure elections start with comprehensive list maintenance practices. Keeping Virginia's voter
list as up to date as possible requires a dynamic and sustainable process that is compliant with
both state and federal law. Virginia is constantly evaluating and improving upon existing
processes, so that Virginias can have confidence in the accuracy of the voter list and that only
those eligible to vote can vote.
                                                              P a g e | 16



Appendix A: Letters to Remaining Neighboring States to Establish Data-
Sharing Agreements
                                                                                                  P a g e | 17




                        COMMONWEALTH of VIRGINIA
                                 DEPARTMENT OF ELECTIONS
                                                Susan J. Beals
                                                Commissioner
September 9, 2024

Mr. Jared DeMarinis
Administrator of Elections, State of Maryland
State Board of Elections
151 West Street, Suite 200
Annapolis, MD 21401

Dear Mr. DeMarinis:

Maintaining the accuracy of the voter registration system is a top priority for Virginia, as we work to
identify duplicate registrations, voters who no longer reside in the Commonwealth, and other persons
who are no longer entitled to be registered. The Code of Virginia § 24.2-404.4 requires that Virginia
compares its voter registration list to those of neighboring states annually, which is fundamental to this
goal. Over the past year, Virginia has established individualized data sharing partnerships with 7
states. During this time, we have refined and executed a secure and reproducible process to exchange
both our voter registration list and the list of those who voted with partner states. This process includes
documenting roles and responsibilities, agreeing to standard data exchange formats and delivery
processes, performing both a test exchange and an exchange with real data, and destroying the lists
used in the exchange.

We respectfully request that Maryland provide Virginia with a current list of registered voters so that
we can conduct our own comparison of our lists. Upon request, Virginia will share the results of such
a comparison with your office. Excluding any matches, Virginia will destroy all data received from
your state office once the review is complete. We will also attempt to contact any Maryland voters that
match an older Virginia record at both their Maryland and Virginia addresses in hopes that the voters
will contact Virginia and update their record accordingly.

Thank you in advance for your consideration. I look forward to receiving your formal response. If you
have any questions, please feel free to contact me directly at susan.beals@elections.virginia.gov or via
telephone at 804-864-8901.

Many thanks,




Susan J. Beals, Commissioner
                  Washington Building, 1100 Bank Street, First Floor, Richmond, VA 23219
             Toll-Free: (800) 552-9745      TTY: (800) 260-3466 www.elections.virginia.gov
                                                                                                 P a g e | 18




                       COMMONWEALTH of VIRGINIA
                                 DEPARTMENT OF ELECTIONS
                                                Susan J. Beals
                                                Commissioner
September 9, 2024

Karen Brinson Bell
Executive Director, State of North Carolina
State Board of Elections
Dobbs Building
430 N. Salisbury Street, 3rd Floor
Raleigh, NC 27603-1362

Dear Ms. Brinson Bell:

Maintaining the accuracy of the voter registration system is a top priority for Virginia, as we work to
identify duplicate registrations, voters who no longer reside in the Commonwealth, and other persons
who are no longer entitled to be registered. The Code of Virginia § 24.2-404.4 requires that Virginia
compares its voter registration list to those of neighboring states annually, which is fundamental to this
goal. Over the past year, Virginia has established individualized data sharing partnerships with 7
states. During this time, we have refined and executed a secure and reproducible process to exchange
both our voter registration list and the list of those who voted with partner states. This process includes
documenting roles and responsibilities, agreeing to standard data exchange formats and delivery
processes, performing both a test exchange and an exchange with real data, and destroying the lists
used in the exchange.

We respectfully request that North Carolina provide Virginia with a current list of registered voters so
that we can conduct our own comparison of our lists. Upon request, Virginia will share the results of
such a comparison with your office. Excluding any matches, Virginia will destroy all data received
from your state office once the review is complete. We will also attempt to contact any North Carolina
voters that match an older Virginia record at both their North Carolina and Virginia addresses in hopes
that the voters will contact Virginia and update their record accordingly.

Thank you in advance for your consideration. I look forward to receiving your formal response. If you
have any questions, please feel free to contact me directly at susan.beals@elections.virginia.gov or via
telephone at 804-864-8901.

Many thanks,




Susan J. Beals, Commissioner

               Washington Building, 1100 Bank Street, First Floor, Richmond, VA 23219
            Toll-Free: (800) 552-9745     TTY: (800) 260-3466      www.elections.virginia .gov
                                                                                                    P a g e | 19




Appendix B: List Maintenance Sources and Processing Frequency
Diagram22




22
 Although not depicted in the graphic above, ELECT started receiving DMV non-citizen data daily as a result of
EO 35 on August 8, 2024
P a g e | 20
